                                  Case 2:22-cv-03314-FMO-JEM Document 18 Filed 07/29/22 Page 1 of 2 Page ID #:47



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                                 9                        UNITED STATES DISTRICT COURT
                                 10
                                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                 12   PORTIA MASON, an individual,           Case No.: 2:22-cv-03314-FMO-JEM
3055 Wilshire Blvd, 12th Floor




                                 13
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                                     Plaintiff,              CLASS ACTION
                                 14         v.
                                                                             Honorable Judge Fernando M. Olguin
                                 15   TWELFTH OF MAY, LLC d/b/a              Courtroom 6D, 6th Floor
                                 16   THE BEL-AIR, a California limited
                                      liability company; and DOES 1 to 10,   NOTICE OF VOLUNTARY
                                 17   inclusive,                             DISMISSAL WITH PREJUDICE
                                 18
                                                           Defendants.
                                 19
                                                                             Complaint filed: May 16, 2022
                                 20                                          Trial Date:      None Set
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                                                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
                                  Case 2:22-cv-03314-FMO-JEM Document 18 Filed 07/29/22 Page 2 of 2 Page ID #:48



                                 1           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Portia
                                 2    Mason requests that this Court enter a dismissal with prejudice as to Plaintiff’s
                                 3    claims in their entirety in the above-entitled action. Each party shall bear her or its
                                 4    own fees and costs.
                                 5
                                 6    Dated: July 29, 2022                    WILSHIRE LAW FIRM, PLC
                                 7
                                                                              /s/ Binyamin I. Manoucheri
                                 8                                            Thiago M. Coelho
                                 9                                            Binyamin I. Manoucheri
                                                                              Attorneys for Plaintiff Portia Mason
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Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




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                                                        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
